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1                           UNITED STATES DISTRICT COURT

2                          EASTERN DISTRICT OF CALIFORNIA

3

4    UNITED STATES OF AMERICA,                 No. 2:15-cr-0174-GEB
5                    Plaintiff,
6           v.                                 ORDER
7    JUAN OROZCO-GARCIA,
8                    Defendant.
9

10                 The undersigned judge received a letter dated May 19,

11   2016   from    the   Federal     Bureau   of   Prisons    in   which     additional

12   time   is     requested    for   the   completion    of    the    mental    health

13   evaluation of defendant; the letter has been filed on the docket

14   as ECF No. 36-1. After receiving this letter, a status conference

15   was scheduled for May 20, 2016, so that the request could be

16   discussed with counsel. (Order Scheduling Status Conf., ECF No.

17   36.)   However,      the   judge   subsequently     became       aware    that   the

18   parties’ stipulated to a waiver of time under the Speedy Trial

19   Act up to and including June 17, 2016, which was approved in an

20   Order filed on May 13, 2016. (Order, ECF No. 35.). In light of

21   this Speedy Trial Act waiver, the status conference scheduled for

22   May 20, 2016 is vacated.           Further, today the judge left a phone

23   message for the clinician that sent the May 19, 2016 letter,

24   informing her that her request for additional time was granted.

25   Dated:      May 18, 2016

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